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  EXHIBIT 1
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                                                               in-person education for approximately half of the Spring
                2021 WL 293255                                 2020 semester. (Id. ¶ 14.)
  Only the Westlaw citation is currently available.
   United States District Court, S.D. New York.                According to Plaintiff, Fordham’s remote-learning
                                                               opportunities were “subpar in practically every aspect,
  KAREEM HASSAN, individually and on behalf of                 from the lack of facilities, materials, and access to
      all others similarly situated, Plaintiff,                faculty.” (Id. ¶ 13.) Remote learning was “in no way the
                         v.                                    equivalent of the in-person education that Plaintiff and the
     FORDHAM UNIVERSITY, Defendant.                            putative class members contracted and paid for,” and
                                                               educational opportunities offered to Fordham students
                   20-CV-3265 (KMW)                            were “a shadow of what they once were.” (Id. ¶¶ 13, 39.)
                            |                                  Nonetheless, Fordham has not issued tuition refunds for
                    Filed 01/28/2021                           any portion of the Spring 2020 semester. (Id. ¶ 15.)
                                                               Fordham has reduced some but not all non-tuition fees.
                                                               (See id. ¶ 16.)

                                                               Plaintiff thus brings this action on behalf of “all people
                                                               who paid tuition and other fees for the Spring 2020
                                                               academic semester at Fordham” and “lost the benefit of
                                                               the education for which they paid.” (Id. ¶¶ 1, 42.) Plaintiff
                                                               seeks also to represent a subclass consisting of class
                  OPINION & ORDER                              members who reside in New Jersey. (Id. ¶ 43.) Plaintiff
                                                               claims that the class is “entitled to a refund of tuition for
                                                               in-person educational services, facilities, access, and/or
KIMBA M. WOOD United States District Judge                     opportunities that [Fordham] has not provided,” as well as
                                                               a refund of “all fees.” (Id. ¶ 16.) More specifically,
*1 Plaintiff Kareem Hassan has filed a First Amended           Plaintiff seeks “disgorgement of the pro-rated portion of
Class Action Complaint (the “Complaint”) against               tuition and fees” for the period from March 9 to May 12.
Defendant Fordham University (“Fordham”), seeking a            (See id. ¶¶ 17, 41.)
refund of tuition and all fees in connection with the
university’s suspension of in-person instruction in light of   Plaintiff filed a complaint on April 25, 2020 and a First
the COVID-19 pandemic. Plaintiff requests relief based         Amended Complaint on August 5, 2020. (ECF Nos. 1,
on four grounds: breach of contract, unjust enrichment,        12.) On September 4, Fordham moved to dismiss the
conversion, and money had and received. Fordham has            Amended Complaint. (ECF No. 15.) On October 5,
moved to dismiss the Complaint. For the reasons set forth      Plaintiff filed an opposition to Fordham’s motion. (ECF
below, Fordham’s motion is GRANTED.                            No. 21.) On October 19, Fordham filed its reply
                                                               memorandum. (ECF No. 26.) Since the filing of the reply,
                                                               both parties have filed notices of supplemental authority,
                                                               bringing to the Court’s attention recent decisions in other
                                                               tuition-related lawsuits. (ECF Nos. 27, 29, 31, 32.)
                                                               Fordham has filed objections to each of Plaintiff’s
                                                               notices. (ECF Nos. 28, 30, 33.)
                    BACKGROUND

Plaintiff is an undergraduate student at Fordham. (Compl.
¶ 18, ECF No. 12.) Fordham’s Spring 2020 semester
began on January 13. (Id. ¶ 10.) On March 9, the
COVID-19 pandemic caused Fordham to suspend
in-person instruction and to begin holding classes “in an                       LEGAL STANDARDS
online format, with no in-person instruction.” (Id. ¶ 12.)
Students were asked to leave Fordham’s campuses no             *2 A complaint must be dismissed if it fails to state a
later than March 22. (Id. ¶ 34.) Remote instruction            claim upon which relief can be granted. Fed. R. Civ. P.
continued through the end of the semester on May 12. (Id.      12(b)(6). To survive a motion to dismiss under Rule
¶¶ 10, 35.) Simply put, Fordham did not provide                12(b)(6), the complaint must plead “enough facts to state
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a claim to relief that is plausible on its face.”   Bell Atl.   A. The Educational Malpractice Doctrine
Corp. v. Twombly, 550 U.S. 544, 570 (2007). “A claim            When applying traditional legal principles and rules to
has facial plausibility when the pleaded factual content        disputes within the academic community, courts in New
allows the court to draw the reasonable inference that the      York exercise the “utmost restraint.”      Olsson v. Bd. of
defendant is liable for the misconduct alleged.”                Higher Ed., 49 N.Y.2d 408, 413 (1980); see         Maas v.
    Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). A court        Cornell Univ., 94 N.Y.2d 87, 92 (1999) (stating that
must accept “all factual allegations as true,” but gives “no    courts play a “restricted role” in controversies involving
effect to legal conclusions couched as factual allegations.”    universities); see also      Papelino v. Albany Coll. of
See Stadnick v. Vivint Solar, Inc., 861 F.3d 31, 35 (2d Cir.    Pharm. of Union Univ., 633 F.3d 81, 94 (2d Cir. 2011)
2017) (quoting      Starr v. Sony BMG Music Entm’t, 592         (stating that courts must show restraint when “intervening
F.3d 314, 321 (2d Cir. 2010)).                                  in controversies involving a student’s academic
                                                                qualifications”). Judicial restraint in the academic arena
When adjudicating a motion to dismiss, district courts          reflects the public policy that educational professionals
“may review only a narrow universe of materials.” Goel          are “peculiarly capable” of making decisions that are
v. Bunge, Ltd., 820 F.3d 554, 559 (2d Cir. 2016). Courts        “appropriate and necessary” for educational institutions to
generally do not “look beyond facts stated on the face of       function.       Gertler v. Goodgold, 107 A.D.2d 481,
the complaint, documents appended to the complaint or           485-86 (1st Dep’t 1985), aff’d, 66 N.Y.2d 946 (1985).
incorporated in the complaint by reference, and matters of      Courts have thus “refused to substitute their judgment for
which judicial notice may be taken.” Id. (quoting Concord       that of university officials or to review the day-to-day
Assocs., L.P. v. Entm’t Props. Tr., 817 F.3d 46, 51 n.2 (2d     administration of academic policies.” Sirohi v. Lee, 222
Cir. 2016)) (alterations and internal quotation marks           A.D.2d 222, 634 N.Y.S.2d 119 (1995); see also Torres v.
omitted)                                                        Little Flower Children’s Servs., 64 N.Y.2d 119, 126
                                                                (N.Y. 1984) (stating that courts should avoid being “thrust
                                                                into the position of reviewing the wisdom of educators’
                                                                choices and evaluations”).

                                                                *3 This public policy does not mean that students may
                      DISCUSSION                                never sue universities for breach of contract. Ansari v.
                                                                New York Univ., 1997 WL 257473, at *3 (S.D.N.Y. May
                                                                16, 1997) (Mukasey, J.). If a contract with a university
                                                                provides for “certain specified services,” such as a
                                                                “designated number of hours of instruction,” and the
I. Whether Plaintiff’s Claims Are Barred                        university fails to satisfy that obligation, “a contract
As an initial matter, the Court must decide whether             action with appropriate consequential damages might be
Plaintiff’s claims are barred by New York law and public        viable.” Id. (quoting     Paladino v. Adelphi Univ., 89
policy regarding “educational malpractice” and the proper       A.D.2d 85, 92 (2d Dep’t 1982)).
role of courts in cases involving educational institutions.
At least one federal court in New York has allowed              New York’s public policy does, however, preclude
claims for tuition refunds in connection with suspensions       lawsuits that are predicated on claims of “educational
prompted by the COVID-19 pandemic to proceed. See               malpractice.” If the “essence of the complaint is that the
Ford v. Rensselaer Polytechnic Inst., 2020 WL 7389155,          school breached its agreement to provide an effective
at *5-6 (N.D.N.Y. Dec. 16, 2020) (holding that plaintiff’s      education,” or if a court is asked to “evaluate the course
claims “seeking recompense from their tuition payments”         of instruction” or “review the soundness of the method of
were not barred); see also Bergeron v. Rochester Inst. of       teaching that has been adopted by an educational
Tech., 2020 WL 7486682, at *2 (W.D.N.Y. Dec. 18,                institution,” those claims should be dismissed. Ansari,
2020) (allowing similar claims to proceed but not
addressing the educational malpractice doctrine). As            1997 WL 257473, at *3 (citing      Paladino, 89 A.D.2d at
explained below, the Court holds that New York law does         89-90).
not bar Plaintiff’s claims in their entirety at this stage.




                                                                B. Nature of the Allegations in the Complaint

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Fordham argues that the Complaint runs afoul of the            entirely at this stage.    Paladino, 89 A.D.2d at 89, 92.
educational malpractice doctrine because it “is premised
on the notion that Plaintiff should be refunded money          But see        Lindner v. Occidental Coll., 2020 WL
because the ‘online learning options’ ... were ‘subpar.’ ”     7350212, at *6 (C.D. Cal. Dec. 11, 2020) (stating that
(Mem. at 8, ECF No. 18; Reply at 12.) Fordham asserts          courts “across the country have repeatedly rejected claims
that the Complaint improperly urges the Court to               that seek damages for an allegedly ‘subpar’ education”).
“substitute [its] judgment for that of university officials”   It is clear, however, that the Court may not evaluate and
in deciding whether the methods and techniques of remote       measure the quality of instruction. To the extent that
education were indeed “subpar.” (Mem. at 9.) In response,      adjudicating Plaintiff’s claims entails evaluation of
Plaintiff insists that the Court need not “evaluate the        whether a course conducted remotely was less valuable
course of instruction” or analyze “uniquely professional       than one conducted in person—and if so, by how
academic decisions.” (Opp’n at 5.) Rather, according to        much—the Court should decline to “enter the classroom
Plaintiff, the Court is required to evaluate only whether      and determine whether or not the judgments and conduct
Fordham “promised to provide services and failed to do         of professional educators were deficient.”       Paladino,
so.” (Id. (quoting Ansari, 1997 WL 257473, at *3).)            89 A.D.2d at 92; see         Gertler, 107 A.D.2d at 486
                                                               (stating that courts should not “sit in review of the
The Court holds that Plaintiff’s claims are not barred by      day-to-day implementation” of educational policies).
the educational malpractice doctrine, because they are
sufficiently grounded in whether an alleged promise for        Notwithstanding these concerns regarding the allegations
educational services was made and breached. The                that Fordham provided a “subpar” education, the Court
Complaint focuses on statements in documents issued by         holds that Plaintiff’s claims are sufficiently grounded in
Fordham to its students, such as the university’s course       contract that they are not barred by the educational
catalog, that form the contractual relationship between the    malpractice doctrine at this stage. The Court turns,
university and the student body. (E.g., Compl. ¶¶ 5-9.)        therefore, to the merits of Plaintiff’s claims.
The Complaint alleges that Fordham made a promise in
these documents to provide in-person educational
services. (Id. ¶ 59.) A court attempting to ascertain
whether the content of these documents constitutes such a
specific promise would engage in an act of interpretation
that does not involve questioning the judgments of             II. Breach of Contract Claim
educational professionals. Ansari, 1997 WL 257473, at          Plaintiff alleges that he and Fordham “entered into a
*3; see Deen v. New Sch. Univ., 2007 WL 1032295, at *2         contractual relationship where Plaintiff would provide
(S.D.N.Y. Mar. 27, 2007) (Wood, J.) (“The interpretation       payment in the form of tuition and fees, and [Fordham], in
of a university’s catalogue, like the interpretation of any    exchange, would provide in-person educational services,
contract, is a matter of law for the Court.”).                 experiences, opportunities, and other related services.”
                                                               (Compl. ¶ 53.) Plaintiff alleges that Fordham breached
One aspect of the Complaint, however, raises very serious      this contract “by failing to provide in-person education
concerns in light of the educational malpractice doctrine.     services for the entirety of the Spring Semester 2020.”
Plaintiff alleges that Fordham’s remote instruction and        (Id. ¶ 60.)
educational opportunities were “subpar in practically
every aspect,” “in no way the equivalent of [an] in-person     The parties disagree as to whether Plaintiff has adequately
education,” “a shadow of what they once were,” and “not        pleaded the elements necessary to establish a breach of
even remotely worth the amount charged class members           contract claim. (Mem. at 9; Opp’n at 8.1) The Court agrees
for Spring Semester 2020 tuition.” (Compl. ¶¶ 13, 39, 40.)     with Fordham that Plaintiff has failed to plead two
Fordham argues that the Court cannot assess this               essential elements of its contract claim: a sufficiently
contention “without evaluating and measuring the alleged       specific promise to provide in-person educational
quality of educational services provided remotely as           services, and breach of the contract between Fordham and
compared against in-person/on campus educational               its students. Because Plaintiff’s contract claim would fail
services.” (Reply at 12.)                                      on either of these two grounds, the Court does not reach
                                                               the parties’ arguments regarding damages, acceptance,
*4 Because these allegations primarily would impact the        and impossibility.
damages element of Plaintiff’s contract claim, the Court is
not persuaded that they form the “essence” of the
Complaint, such that Plaintiff’s claims should be barred

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A. Alleged Promise to Provide In-Person Educational             *5 In addition, a university’s “academic and
Services                                                        administrative prerogatives” are not “impliedly limited by
                                                                custom, or by a strained theory of contractual
                                                                construction.”      Gertler, 107 A.D.2d at 485. An implied
                                                                promise must be determined “cautiously,” not by custom
   1. Application of Legal Principles to Implied
                                                                or strained interpretation, in instances in which a court
   Educational Contracts
                                                                may “rightfully assume that [the promise] would have
In general, in order to state a claim for breach of contract,
                                                                been made if attention had been drawn to it” and in order
a plaintiff must allege the existence of an agreement;
                                                                to “enforce a manifest equity” or to “reach a result which
adequate performance of the contract by the plaintiff;
                                                                the unequivocal acts of the parties indicate they intended
breach of contract by the defendant; and damages.
                                                                to effect.” Id. (quoting     Genet v. Delaware & H. Canal
    Eternity Glob. Master Fund Ltd. v. Morgan Guar. Tr.
Co. of N.Y., 375 F.3d 168, 177 (2d Cir. 2004).                  Co., 136 N.Y. 593, 608 (1893)); see             Gertler, 107
                                                                A.D.2d at 485-86 (dismissing professor’s claim regarding
In New York, the law recognizes the existence of an             the adequacy of research facilities because the “university
implied contract between universities and their students.       has never expressly, by contract or otherwise, obligated
                                                                itself to provide the amenities plaintiff claims”).
    Gally, 22 F. Supp. 2d 199, 206 (S.D.N.Y. 1998)
(Jones, J.). The terms of that contract are contained in the
“bulletins, circulars and regulations made available to the
student.” Id. Pursuant to this contract, if the student
“complies with the terms prescribed by the university, she
will obtain the degree she seeks.” Id. Conversely, a               2. Alleged Promise to Provide In-Person
student may seek redress for alleged breaches by the               Educational Services
university. Id.                                                 The alleged promise in this case is that Fordham would
                                                                provide “in-person educational services, experiences,
The application of contract principles to the relationship      opportunities, and other related services.” (Compl. ¶ 3.)
between universities and their students, however, does not      Fordham argues, however, that Plaintiff has not
“provide judicial recourse for every disgruntled student.”      adequately identified any specific promise to this effect
   Id. at 207. In keeping with the restrained approach that     and cannot “point to a single statement” in the course
courts take with respect to disputes involving educational      catalog or other publications “reflecting that Fordham
institutions, “a cause of action for breach of contract ...     promised to provide all of [its] classes exclusively
requires a contract which provides for ‘certain specified       in-person and on campus throughout the entirety of the
services.’ ” Baldridge v. State, 293 A.D.2d 941, 943 (3d        semester, and not in any other format regardless of any
Dep’t 2002) (quoting          Paladino, 89 A.D.2d at 92). A     exigent circumstances.” (Mem. at 12.2)
court’s review of contractual claims is thus
“circumscribed to enforcing specific promises.” Ford,           As it must, the Court accepts the factual allegations in the
2020 WL 7389155, at *3; compare Ansari, 1997 WL                 Complaint as true and draws all reasonable inferences in
257473, at *3 (allowing claims to proceed when student          Plaintiff’s favor. See Bolt Elec. v. City of N.Y., 53 F.3d
identified specific promises by the university to provide       465, 469 (2d Cir. 1995). The Court agrees with Fordham,
“state-of-the-art     facilities,   faculty   tutor-advisors,   however, that Plaintiff has not pleaded factual allegations
appropriate recognition upon completion of the program,         that “raise a right to relief above the speculative level.”
overviews of the latest techniques, program activities             Twombly, 550 U.S. at 555.
from 9:00 A.M. to 4:00 P.M. every day, and membership
in the [American Association of Orthodontics]”), with           The key publication identified by Plaintiff is a catalog that
   Gally, 22 F. Supp. 2d at 207-08 (dismissing claims in        identifies courses offered, instructors, and the times and
which student identified only “general promises about           locations of classes. (Compl. ¶¶ 4-5.) With respect to
ethical standards” and an aspirational statement regarding      location, the catalog allowed students to search course
the timeline for releasing final grades) and Chira v.           offerings, which included information identifying the
Columbia Univ. in New York, 289 F. Supp. 2d 477,                campus, building, and room where each course was to
485-86 (S.D.N.Y. 2003) (Baer, J.) (dismissing claims in         take place. (Id. ¶ 6.) The catalog also had a search filter
which student “point[ed] to no document or conversation         for the “[t]ype” of course, including “[i]n-[p]erson” and
that gives rise to a promise which Columbia breached”).         “[o]nline” options. (Id. ¶ 7.) Before the semester began,
                                                                Plaintiff “consulted” the catalog and understood that each
                                                                course for which he enrolled would be taught in person.
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(Id. ¶ 19.) This belief was based on the catalog’s             class attendance is possible during both in-person and
identification of an on-campus location for each class, in     virtual instruction.”).)
addition to the fact that other courses were listed as being
“[v]irtual (online courses only).” (Id.)                       In support of its position, Plaintiff alerted the Court to
                                                               recent decisions in cases brought against Rensselaer
Plaintiff’s allegations are based also on Fordham’s            Polytechnic Institute (“RPI”) and the Rochester Institute
Academic Policies and Procedures. (Id. ¶¶ 8, 57.)              of Technology (“RIT”). (Notice of Supp. Authority, ECF
Specifically, Plaintiff cites the statements that students     No. 32.) In both cases, the courts held that the plaintiffs
“are expected to attend every class of every course for        had sufficiently alleged specific promises to provide
which they are registered,” and that they are “responsible     in-person programs. See Ford, 2020 WL 7389155, at
for keeping a record of their own absences and may not         *5-6; Bergeron, 2020 WL 7486682, at *7-8. In the RPI
exceed the maximum allowed.” (Id. ¶ 8.) Plaintiff points       decision, a district court in the Northern District of New
further to Fordham’s policy not to provide class credit to     York found that RPI’s catalog described a program that
students transferring from other institutions for “online      relied on a “time-based clustering and residential
courses” they may have taken elsewhere. (Id. ¶¶ 9, 58.)        commons program” that could be fairly characterized as a
Finally, Plaintiff alleges that Fordham markets the            “mandatory” on-campus program. Ford, 2020 WL
“on-campus experience” as a benefit of enrollment. (Id. ¶      7389155, at *4. The court found further that, in its catalog
38.)                                                           and other publications, RPI made “bold claims” about its
                                                               in-person programming and “hammered repeatedly on the
*6 None of these statements, however, constitutes a            benefits of those programs.” Id. at *5. With respect to the
specific promise on Fordham’s part to provide “certain         case brought against RIT, the institution offered two
specified services.” Baldridge v. State, 293 A.D.2d 941,       different programs—an “in-person, hands-on program”
943 (3d Dep’t 2002) (quoting        Paladino, 89 A.D.2d at     and “fully online distance learning programs”—that were
92). The course catalog contains informational guidance        mutually exclusive and charged significantly different
regarding, for example, a course’s instructor, location,       tuition rates. Bergeron, 2020 WL 7486682, at *1.
and schedule. But there are no express statements              Contrasting these programs, a district court in the Western
promising that these aspects of a course were not subject      District of New York identified “a multitude of promises
to change. Nor has Plaintiff identified any statement in       made by RIT with respect to the benefits of enrollment in
which Fordham “relinquished its authority” to alter the        the more expensive in-person, on-campus program,” as
                                                               well as specific statements regarding student fees. Id. at
modality of its course instruction.    Gertler, 107 A.D.2d     *7-8.
at 485; see also Paynter v. NYU, 319 N.Y.S.2d 893, 894
(1st Dep’t 1971) (reversing tuition refund when classes        In this case, however, Fordham’s alleged statements do
were suspended due to student demonstrations, because          not rise to the level of a specific promise to provide
the “circumstances of the [university-student] relationship    in-person educational services. The Court finds more
permit the implication that the professor or the college       persuasive the analysis in Linder. In that decision, a
may make minor changes” to the services rendered by the        district court in the Central District of California analyzed
university). The allegation that Fordham made a sweeping       statements similar to those that Plaintiff alleges here, that
promise to provide in-person educational services, based       were contained in Occidental University’s corresponding
on its course descriptions, is not comparably specific to a    publications, including a course catalog and attendance
promise to provide a certain number of instructional hours
or facilities of a certain caliber. See, e.g., Ansari, 1997    policy. See         Lindner, 2020 WL 7350212, at *2.
WL 257473, at *2.                                              Applying California law, the court held that plaintiffs had
                                                               “failed to identify any specific language” in these
As for the alleged statements regarding transfer credits,      documents that promised in-person instruction.          Id. at
attendance, and marketing, these are “more akin to             *8-9.
general statements of policy” than to “specifically
designated and discrete promises” regarding “the               *7 In addition to its textual arguments, Plaintiff argues
incidents of the forthcoming education.” Ward v. New           that a “prior course of conduct” establishes that Fordham
York Univ., 2000 WL 1448641, at *4 (S.D.N.Y. Sept. 28,         promised to provide in-person services, because Plaintiff
2000) (Casey, J.). In addition, the attendance policy          attended classes and was able to access campus facilities
makes no distinctions among different modes of                 before the pandemic. (Opp’n at 14; see Compl. ¶ 18
instruction, and tracking attendance is not a policy that on   (alleging that Plaintiff is enrolled in a Chemistry program
its face applies only to an in-person course. (Mem. at 13;     that “relies extensively on in-person instruction, peer
see      Lindner, 2020 WL 7350212, at *8 (“[R]egular           collaboration, and access to laboratory facilities”).)
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                                                               (Sotomayor, J.) (citation and internal quotation marks
Plaintiff’s argument is unavailing. Breach of contract         omitted); see also Babiker v. Ross Univ. Sch. of Med.,
actions between a student and a university “must be            2000 WL 666342, at *6-7 (S.D.N.Y. May 19, 2000)
grounded in a text ..., or else courts should decline to       (Katz, J.) (citation omitted).
involve themselves.” Ford, 2020 WL 7389155, at *4. A
promise to provide in-person education, based on the           Plaintiff argues that this deferential standard does not
“nature of [Plaintiff’s] dealings” with Fordham, is not        apply, because it is applicable only in “Article 78
grounded in a text but rather implied in “custom,”             proceedings and cases involving the subjective judgment
specifically the customary in-person nature of Fordham’s       of professional educators.” (Opp’n at 15.3) Plaintiff argues
undergraduate programming. See       Gertler, 107 A.D.2d       that, in any case that does not involve the exercise of
at 485. Such an implied promise “does not withstand            “specialized discretion,” an educational institution “is
scrutiny.” Ford, 2020 WL 7389155, at *4.                       entitled to no more deference than any other defendant.”
                                                               (Id. at 7, 16; see    Tedeschi v. Wagner Coll., 49 N.Y.2d
Moreover, prior conduct in the educational setting does        652, 659 (1980) (stating that, with respect to “academic
not transform over time into contractual entitlement. See      achievement” as opposed to “nonacademic matters,” the
    Gertler, 107 A.D.2d at 484-85 (rejecting claim that        contract “tends to be limited” to the “condition of good
professor was contractually entitled to certain “perquisites   faith” that is implied in law).)
of faculty life”). And even if Fordham and its students
were accustomed to in-person instruction, caution is           *8 Courts have not, however, applied deferential
warranted before implying promises in contracts such as        standards as narrowly as Plaintiff suggests. As explained
that governing Fordham’s relationships with its students.      in Baldridge, a contract pursuant to which a student
                                                               brings suit must provide for “certain specified services”
    Id. at 485. In these circumstances, the Court cannot       precisely because courts have “quite properly exercised
“rightfully assume” that Fordham would have made a             the utmost restraint applying traditional legal rules to
specific, far-reaching promise to provide in-person            disputes within the academic community.” 293 A.D.2d at
educational services had “attention been drawn” to that
                                                               943 (quoting         Paladino, 89 A.D.2d at 92 and
promise. Id. (quoting    Genet, 136 N.Y. at 609).
                                                                  Olsson, 49 N.Y.2d at 413). The New York Court of
In sum, the Court holds that Plaintiff has failed to plead     Appeals has “explicitly cautioned” that the legal theories
the first element of its contract claim. The Complaint has     underpinning certain deferential principles in the
not sufficiently pleaded that the implied contract with        university context are “not well defined” and that
Fordham promises “certain specified services,” and it          “[c]ontract theory is not wholly satisfactory” in the
does not identify a “specific promise[ ]” to provide           context of the relationship between a university and its
in-person education. Baldridge, 293 A.D.2d at 943              students. See    Maas v. Cornell Univ., 94 N.Y.2d 87, 95
(quoting      Paladino, 89 A.D.2d at 92); Ford, 2020 WL        (1999) (discussing Tedeschi).
7389155, at *3.
                                                               Accordingly, courts have applied deferential principles,
                                                               including the “bad faith” standard, outside of the Article
                                                               78 context and in diverse circumstances. See, e.g., Anthes
                                                               v. N.Y. Univ., 2018 WL 1737540, at *13 (S.D.N.Y. Mar.
                                                               12, 2018) (Carter, J.) (breach of contract claims for
B. Allegations of Breach                                       inadequate efforts to assist a student’s employment
In order to plead a viable contract claim, Plaintiff also      search); Pearson v. Walden Univ., 144 F. Supp. 3d 503,
must allege breach of the implied agreement with               511 (S.D.N.Y. 2015) (Karas, J.) (breach of contract
Fordham. The Complaint, however, fails to do so.               claims for, among other things, inadequate dissertation
                                                               supervision); Babiker v. Ross Univ. Sch. of Med., 2000
The “essence” of an implied contract between university        WL 666342, at *6 (S.D.N.Y. May 19, 2000) (Katz, J.),
and student is that the university “must act in good faith     aff’d, 86 F. App’x 457 (2d Cir. 2004) (breach of contract
in its dealings with its students.”      Olsson v. Bd. of      claims for dismissal of student); see also Pell v. Trustees
Higher Educ., 49 N.Y.2d 408, 414 (1980). In order to           of Columbia Univ. In City of New York, 1998 WL 19989,
plead an actionable breach, the student must show that the     at *20 (S.D.N.Y. Jan. 21, 1998) (Sotomayor, J.)
university “acted in bad faith or in an arbitrary or           (emphasis added) (“Plaintiff has presented facts, that if
irrational manner.” Pell v. Trustees of Columbia Univ.,        proven, may evidence that Columbia acted in ‘bad faith or
1998 WL 19989, at *20 (S.D.N.Y. Jan. 21, 1998)                 in an arbitrary or irrational manner,’ thus giving rise to a

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viable breach of contract claim.”).4                               In short, Plaintiff has not alleged that Fordham acted in
                                                                   bad faith or arbitrarily with respect to retaining either
Plaintiff argues further that deference is unwarranted             tuition or any other fees.5 Indeed, Plaintiff has not even
because Fordham’s decision to retain money is akin to a            identified the specific non-tuition fees to which the
“standard commercial business decision.” (Opp’n at 8.)             putative class may be entitled, nor alleged any statements
This argument is not persuasive. The Complaint’s                   by Fordham reflecting promises to provide services in
allegation of breach is based on a failure to provide              connection with those fees.
in-person services because of the COVID-19 pandemic
and the related decision to retain tuition and fees. (Compl.       In light of the above, the Court holds that Plaintiff has
¶¶ 34, 60-61). Judicial scrutiny of these actions would            failed to plead the breach element of its contract claim.
require analysis of educators’ judgments with respect to           The Complaint fails to allege that Fordham acted in “bad
what may have been “appropriate and necessary to                   faith or in an arbitrary or irrational manner” when it
[Fordham’s] continued existence.”              Gertler, 107        transitioned to remote learning because of the COVID-19
A.D.2d at 485. In these circumstances, it is appropriate           pandemic and when it retained tuition and other fees in
for the Court to apply a deferential standard.                     spite of that transition. Pell, 1998 WL 19989, at *20
                                                                   (citation omitted).
*9 The Complaint does not allege that Fordham acted in
bad faith when it suspended in-person classes and
transitioned to remote learning. Indeed, the Complaint
makes clear that Fordham made this transition “because
of” the COVID-19 pandemic. (Compl. ¶¶ 1, 11, 34.) The
                                                                   C. Damages, Acceptance, and Impossibility
transition was made around the time that executive orders
                                                                   At the pleading stage, plaintiffs may allege damages in a
issued by Governor Andrew Cuomo required universities
                                                                   “plain and simple fashion.” Lan Sang v. Ming Hai, 951 F.
to cease in-person classes. See N.Y. Exec. Order No. 202
                                                                   Supp. 2d 504, 527 (S.D.N.Y. 2013) (Oetken, J.). Damages
(Mar. 7, 2020) (declaring state of emergency); N.Y. Exec.
                                                                   may not be merely speculative or imaginary, but must be
Order No. 202.8 (Mar. 20, 2020) (requiring non-essential
                                                                   reasonably certain and traceable to the alleged breach of
businesses to reduce in-person workforces by 100%); see
                                                                   contract. Getko Grp., Inc. v. Amica Mut. Ins. Co., 2003
also     Pani v. Empire Blue Cross Blue Shield, 152 F.3d           WL 22455303, *2 (S.D.N.Y. Oct. 28, 2003) (Marrero, J.).
67, 75 (2d Cir. 1998) (stating that “a district court may
rely on matters of public record in deciding a motion to           Plaintiff alleges payment of a certain sum in tuition and
dismiss”).                                                         fees and claims a refund in connection with the failure to
                                                                   provide in-person educational services. (Compl. ¶ 4;
In briefing, Plaintiff argues that Fordham acted arbitrarily       Opp’n at 17.) Fordham responds that Plaintiff has made
because it refunded some mandatory fees and not others,            an insufficient, “nebulous” damages claim that the classes
such as tuition. (Opp’n at 16-17.) According to Plaintiff in       received were “subpar” as compared to in-person
its opposition, “[t]here is no logical explanation for why         instruction. (Mot. at 16.) Fordham argues further that this
tuition and some mandatory fees [which were partially              claim for damages “reinforce[s] the notion that Plaintiff’s
refunded] have been treated differently” from each other.          claims are essentially an educational malpractice claim.”
(Id. at 17.) But Plaintiff has not alleged in the Complaint        (Id. at 17.)
any arbitrary actions by Fordham with respect to the
retention of fees. Rather, the Complaint alleges that              *10 The Court has already described the serious damages
“payment of tuition and fees were intended to cover                issues that may arise in light of New York law and public
in-person education, experiences, and services for the             policy regarding educational malpractice. The Court need
entirety of the Spring Semester 2020.” (Compl. ¶ 10.) It           not, however, reach the question whether Plaintiff has
then states that Fordham announced that it would not               sufficiently pleaded damages, because Plaintiff has failed
refund any tuition, but makes no reference to statements           to plead both the existence of a specific contractual
or policies with respect to other fees. (Id. ¶ 15.) It is clear,   promise to provide in-person educational services and that
however, that some of those fees were partially refunded,          Fordham breached such a promise.
because Plaintiff then claims that the Class is entitled to
“a refund of all fees, not just the few Fordham has                For similar reasons, the Court need not reach the parties’
reduced.” (Id. ¶ 16 (emphasis added).) There are no                arguments regarding the doctrines of acceptance and
allegations in the Complaint, however, as to the                   impossibility of performance. (See Mem. at 18-19, Opp’n
arbitrariness of certain reductions and not others.                at 18-20.)

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                                                               pandemic, all in-person classes would be suspended
                                                               effective that same day.” (Id. ¶ 34.) “Online classes”
                                                               began two days later, on March 11. (Id.)
III. Quasi-Contractual Claims                                  Plaintiff argues that it is inequitable for Fordham to retain
In addition to the breach of contract claim, Plaintiff seeks   money paid “for an in-person education, experience, and
relief based on three quasi-contractual claims: unjust         services” and for students “to pay for 100% of the
enrichment, conversion, and money had and received.            products, programs, access, and services that were never
(Compl. ¶¶ 66-88.)                                             provided.” (Opp’n at 23-24.) Fordham argues that
                                                               Plaintiff has not alleged any conduct that is tortious or
Fordham argues that all three of these claims must be          fraudulent. (Mot. at 22.) Rather, the university
dismissed because they are “duplicative” of the contract       transitioned to remote instruction because of the
claim. (See Mem. at 20, 23, 24;         Corsello v Verizon     pandemic and quickly implemented a plan to allow
N.Y., Inc., 18 N.Y.3d 777, 791 (2012) (“An unjust              students to complete their courses. (Id.) In addition,
enrichment claim is not available where it simply              Fordham reiterates that courts should not adjudicate
duplicates, or replaces, a conventional contract or tort       claims that “virtual learning was somehow inferior to
claim.”).) Plaintiff responds that these claims may            in-person classes.” (Id.)
proceed in the alternative. (Opp’n at 21-22, 24-25.)
                                                               *11 The Court agrees with Fordham that there are no facts
As explained below, the Court holds that Plaintiff has not     alleged regarding tortious or fraudulent conduct. Indeed,
sufficiently pleaded claims for unjust enrichment,             the concession that Fordham commenced online classes
conversion, and money had and received. Accordingly,           within two days shows that Fordham acted promptly in
the Court need not decide whether these claims must be         the face of the pandemic in order to continue educating its
dismissed on the separate ground that they are duplicative     students. (Compl. ¶ 34.)
of Plaintiff’s breach of contract claim.
                                                               In addition, for the same reasons discussed with respect to
                                                               the breach of contract claim, Plaintiff has not identified
                                                               sufficiently specific statements in connection with
                                                               in-person educational services, such that the cessation of
                                                               those services would lead to inequity. Cf. Ford, 2020 WL
A. Unjust Enrichment                                           7389155, at *9 (holding that “alleged suggestions of the
To establish a claim for unjust enrichment, a plaintiff        value of [the institution’s] in-person programming” made
must establish that the defendant was enriched, at             a claim of inequity plausible).
plaintiff’s expense, and equity and good conscience
counsel against defendant’s retention of what plaintiff        In these circumstances, the Court holds that Plaintiff has
seeks to recover.       Briarpatch Ltd., L.P v. Phoenix        not sufficiently pleaded that “equity and good conscience
Pictures, Inc., 373 F.3d 296, 306 (2d Cir. 2004) (citing       require restitution.”   Kaye v. Grossman, 202 F.3d 611,
    Clark v. Daby, 751 N.Y.S.2d 622, 623 (3d Dep’t             616 (2d Cir. 2000). As a result, Plaintiff’s unjust
2002)). The mere fact that a benefit is bestowed on a          enrichment claim must be dismissed.
defendant is insufficient.   Clark, 751 N.Y.S.2d at 623.
When assessing considerations of equity and justice,
courts generally consider, among other things, “whether
the defendant’s conduct was tortious or fraudulent.”
   Id. at 624 (citing    Paramount Film Distrib. Corp. v.      B. Conversion
State, 285 N.E.2d 695, 698 (N.Y. 1972)).                       To establish a claim for conversion, a plaintiff must show
                                                               “legal ownership or an immediate superior right of
Plaintiff alleges that Fordham “voluntarily accepted and       possession to a specific identifiable thing and must show
retained” the benefit of tuition and fee payments, “even       that the defendant exercised an unauthorized dominion
though [Fordham] has failed to provide the education,          over the thing in question to the exclusion of the
experience, and services for which the tuition and fees        plaintiff’s rights.”      Barnet v. Drawbridge Special
were collected, making [Fordham’s] retention unjust            Opportunities Fund LP, 2014 WL 4393320, at *19
under the circumstances.” (Compl. ¶¶ 69-70.) Plaintiff         (S.D.N.Y. Sept. 5, 2014) (Castel, J.) (quoting Nat’l Ctr.
alleges also that “[o]n March 9, 2020, Fordham                 for Crisis Mgmt., Inc. v. Lerner, 938 N.Y.S.2d 138-39 (2d
announced that because of the global COVID-19
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Dep’t 2012)).                                                 Berkey, LLP, 2016 WL 5817063, at *4 (S.D.N.Y. Oct. 4,
                                                              2016) (Francis, J.). Traditionally, a remedy is available if
The conversion of “intangible property” is not actionable.    money is “obtained from another, through the medium of
Sun Gold, Corp. v. Stillman, 946 N.Y.S.2d 24, 25 (1st         oppression, imposition, extortion, or deceit, or by the
Dep’t 2012). Nor may a conversion claim seek to enforce       commission of a trespass.” Panix Promotions, Ltd. v.
“a mere obligation to pay money.”        Ehrlich v. Howe,     Lewis, 2002 WL 122302, at *2 (S.D.N.Y. Jan. 22, 2002)
848 F. Supp. 482, 492 (S.D.N.Y. 1994) (Sweet, J.). In         (Baer, J.) (quoting     Miller v. Schloss, 113 N.E. 337,
such cases, it must be alleged that “the money converted      339 (N.Y. 1916)).
was in specific tangible funds of which claimant was the
owner and entitled to immediate possession.” Id.              Plaintiff has not alleged any facts that would support a
                                                              finding of “oppression, imposition, extortion, or deceit.”
Fordham argues that “in-person educational services” do       Panix Promotions, 2002 WL 122302, at *2. Plaintiff
not constitute tangible property that can support a           argues instead that whether the “original possession of the
conversion claim. (Mot. at 24.) Plaintiff responds that a     money by the defendant was rightful or wrongful” is
“specific, identifiable” fund exists because Plaintiff’s      “immaterial.” (Opp’n at 25; see Marini v. Adamo, 995 F.
tuition and fees were entrusted to Fordham for the            Supp. 2d 155, 206 (E.D.N.Y. 2014) (quoting Roberts v.
particular purpose of providing in-person educational         Ely, 20 N.E. 606, 608 (N.Y. 1889)).) Plaintiff thus argues
services to which Plaintiff had “identifiable legal rights”   that, for the same reasons that it has demonstrated
when the money was paid. (Opp’n at 24; Compl. ¶ 75.)          Fordham’s unjust enrichment, it has satisfied the elements
Fordham argues in turn that it is impossible to distinguish   of the money had and received claim. (Opp’n at 25;
between tuition funds that covered in-person instruction      Marini, 995 F. Supp. 2d at 206.)
during the first part of the Spring 2020 semester and those
that covered the remote instruction after the onset of the    Several courts, however, have held that plaintiffs “lack
pandemic. (Reply at 11.)                                      the requisite possessory interest in money” when it is
                                                              “freely given to a defendant with the expectation of
The Court agrees with Fordham. The sole decision cited        performance.” Fernbach, LLC v. Capital & Guarantee
by Plaintiff involves whether a company improperly            Inc., 2009 WL 2474691, at *5 (S.D.N.Y. Aug. 12, 2009)
withheld a specific sum of money that an employee had         (Stein, J.) (citing Panix Promotions, 2002 WL 122302, at
received as a bonus. Thys v. Fortis Sec. LLC, 903             *2);     Nat’l Westminster Bank PLC v. Grant Prideco,
N.Y.S.2d 368, 368 (1st Dep’t 2010). The employee then         Inc., 261 F. Supp.2d 265, 275 n.69 (S.D.N.Y. 2003)
returned that money, subject to a specific agreement that     (Kaplan, J.).
the funds would be entrusted to the company for the
purpose of recalculating and repaying the bonus in a          In this case, Plaintiff alleges that money is owed because
different currency. Id. at 368. Unlike in Thys, however,      Fordham failed to perform. (See Compl. ¶ 84 (“[Fordham]
Plaintiff cannot identify a comparably “specific,             has retained the monies paid by Plaintiff ... while not
identifiable” fund and “cannot realistically argue that       providing in-person educational services, activities,
once that money was paid to defendant it remained intact,     opportunities, resources, and facilities for which those
as opposed to pooling in with defendant’s other funding.”     monies were paid.”).) Because Plaintiff freely paid tuition
Ford, 2020 WL 7389155, at *9.                                 to Fordham, with the “expectation of performance, not
                                                              repayment,” the claim for money had and received must
*12 Accordingly, Plaintiff has not sufficiently pleaded the   fail. Panix Promotions, 2002 WL 122302, at *2.
elements of conversion, and this claim must be dismissed.
                                                              In addition, for the same reasons that the unjust
                                                              enrichment claim fails—because “equity and good
                                                              conscience” do not demand restitution in these
                                                              circumstances—the money had and received claim fails
                                                              as well. See Fischer v. Graham, 2016 WL 3181157, at *4,
C. Money Had and Received
                                                              *4 n.3 (S.D.N.Y. June 3, 2016) (Román, J.) (quoting
To establish a claim for money had and received, a
                                                              Belda v. Doerfler, 2015 WL 5737320, at *4, n.4
plaintiff must show that “(1) defendant received money
                                                              (S.D.N.Y. Sept. 30, 2015) (Nathan, J.)) (“The cause of
belonging to plaintiff; (2) defendant benefitted from
                                                              action for money had and received is ‘essentially identical
receipt of money; and (3) under principles of equity and
                                                              to a claim of unjust enrichment.’ ”).
good conscience, defendant should not be permitted to
keep the money.” Moreno-Godoy v. Gallet Dreyer &
                                                              Accordingly, Plaintiff has not sufficiently pleaded the
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elements of money had and received, and this claim must                amended complaint, red-lined to show the changes from
be dismissed.                                                          the First Amended Complaint. The letter motion must be
                                                                       filed on or before February 11, 2021.




IV. Leave to Amend
Courts “should freely give leave when justice so
requires.” Fed. R. Civ. P. 15(a)(2). “However, where the                                     CONCLUSION
plaintiff is unable to demonstrate that he would be able to
amend his complaint in a manner which would survive                    For the foregoing reasons, Fordham’s motion to dismiss
dismissal, opportunity to replead is rightfully denied.”               for failure to state a claim is GRANTED.
   Hayden v. Cty. of Nassau, 180 F.3d 42, 53 (2d Cir.
                                                                       Plaintiff may seek leave to amend by filing a letter motion
1999).
                                                                       on or before February 11, 2021. Should Plaintiff fail to do
                                                                       so, the Court will dismiss the First Amended Complaint
*13 Plaintiff filed the initial complaint on April 25, 2020.
                                                                       with prejudice and direct the Clerk of Court to close this
(ECF No. 1.) On July 17, in accordance with the
                                                                       case.
Individual Rules of Practice of Judge Swain (to whom
this case was originally assigned), Fordham sent a letter to
                                                                       The Clerk of Court is respectfully directed to terminate
Plaintiff “outlining the bases for a motion to dismiss” that
                                                                       the motion at ECF No. 15.
Fordham intended to file. (Mem. at 5.) Plaintiff filed the
First Amended Complaint, and Fordham moved to
                                                                       SO ORDERED.
dismiss. (ECF Nos. 12, 15.) Plaintiff opposed the motion,
without further amendment, and has not sought leave to
amend. (ECF No. 21.)                                                   All Citations
If Plaintiff seeks leave to amend the First Amended                    Slip Copy, 2021 WL 293255
Complaint, Plaintiff must file a letter motion explaining
how a second amended complaint would state a claim that
is consistent with this Opinion and Order. Plaintiff shall
append to the letter a draft of the proposed second
                                                          Footnotes


1
       Fordham does not dispute Plaintiff’s performance. See Compl. ¶ 59 (alleging that Plaintiff and putative class
       members “fulfilled their end of the bargain when they paid monies due for Spring 2020 Semester tuition”).
       Accordingly, only the terms of the alleged contract, breach, and damages are at issue.

2
       Fordham argues also that a written Financial Responsibility Agreement (“FRA”) requires Plaintiff to pay “[a]ny and all
       costs associated with [his] registration and or receipt of services.” (Mem. at 11; Terzulli Aff. at Ex. A, ECF No. 17.)
       According to Fordham, the FRA nowhere promises that Fordham will provide only in‐person educational services.
       The Court need not, however, decide the precise scope or effect of the FRA. New York law implies a contract
       between students and universities, and Fordham concedes the existence of a “contractual arrangement” that
       includes “the implied agreement.” (Reply at 10; see   Gally, 22 F. Supp. 2d. at 206.) Even if Fordham is correct that
       the FRA does not contain a specific promise to provide in‐person educational services, the FRA does not foreclose
       the possibility that Fordham elsewhere may have made such a promise.

3
       “Article 78 proceedings” refer to specific proceedings in which litigants may seek judicial review of agency decisions,
       pursuant to Article 78 of New York’s Civil Practice Law & Rules (“CPLR”). Private universities are “accountable in a
       CPLR article 78 proceeding, with its well‐defined standards of judicial review, for the proper discharge of their
       self‐imposed as well as statutory obligations.”         Gertler, 107 A.D.2d at 486.
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4
       Plaintiff identifies certain decisions in which courts have not applied deferential principles. (Opp’n at 16.) None of
       these decisions, however, expressly limits the deferential standard that universities may receive. In addition, these
       decisions did not require the courts to “review any educational decisions of the sort which should be left to
       educators.” Ansari, 1997 WL 257473, at *3; see O’Neill v. New York University, 97 A.D.3d 199, 213 (1st Dep’t 2012)
       (holding that allegations concerning failure to follow internal policies regarding termination of employment did not
       implicate “highly specialized” judgments); Deen v. New Sch. Univ., 2007 WL 1032295, at *3, *3 n.5 (S.D.N.Y. Mar. 27,
       2007) (Wood, J.) (allowing claim to proceed for one of eight “specified services” that did not raise educational
       malpractice issues); Novio v. New York Academy of Art, 317 F. Supp. 3d 803, 811‐14 (S.D.N.Y. 2018) (Sweet, J.)
       (allowing claims to survive for specific promises, including to respond promptly to sexual harassment complaints and
       to provide career services). In this case, in contrast, a university‐wide transition to remote instruction reflects
       educators’ judgments as to what may have been “appropriate and necessary to [Fordham’s] continued existence.”
          Gertler, 107 A.D.2d at 485. A deferential standard is thus appropriate.

5
       The lack of specificity on this issue stands in contrast with allegations in cases in which the portion of the Complaint
       relating to fees survived a motion to dismiss. See, e.g., Bergeron, 2020 WL 7486682, at *2 (detailing allegations
       regarding student activity and health services fees, including the allegation that the institution offered no refunds
       for those fees).




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